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                                   UNITED STATES DISTRICT COURT
                               FOR THE NORTHERN DISTRICT OF ILLINOIS,
                                         EASTERN DIVISION


MICHELLE PARKINSON                                                 )
                                                                   )
                   Plaintiff                                       ) Case No. 1:18-cv-01869
                                                                   ) Honorable Edmond E. Chang
                   v.                                              ) Magistrate Judge Jeffrey Cole
                                                                   )
PNC BANK, NATIONAL ASSOCIATION, et al                              )
                                                                   )   JURY DEMAND
                                                                   )
                   Defendants                                      )

     AFFIDAVIT FOR STATEMENT OF THE COURT; DOCKET NUMBER 266 & (EXHIBITS)
     266-1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12 ARE NOT LISTED IN THE ELECTROINIC DOCKET AS
                                   REQUIRED BY LAW PER FRCP; RULE 79

Now comes, the Undersigned, Michelle Parkinson on behalf of herself and in support of her states under

oath as follows:


1. In reviewing the Docket it has come to Plaintiff’s attention that Docket Number 266 and

      (EXHIBITS) 266-1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12 as EXHIBIT 1 are not listed in the Electronic

      docket of Federal Court of the Northern District of Illinois, as EXHIBIT 2. Docket number 266 was

      entered on 8/12/2019 at 2:54AM AM CDT and filed on 8/12/19 as shown below and attached as

      EXHIBIT 3.

2. As previously stated in the docket numbers named above, (that the Court does not want to be part of

      the record). The Clerk is required by law under Rule 79. “Records Kept by the Clerk” to do as

      follows:

          (2) Items to be Entered. The following items must be marked with the file number and entered
          chronologically in the docket:

          (A) papers filed with the clerk;

4.        The Clerk is required by law under Rule 79. “Records Kept by the Clerk” to do as follows:


          (2) Items to be Entered. The following items must be marked with the file number and entered
          chronologically in the docket:


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        (B) papers filed with the clerk;


3. Failure to abide by the rules of the Court means that the Clerk of the Court and the other co-

    conspirators are knowing and willful participants in any illegal actions that is allegedly being taken

    place in this instant action.

4. There is a Minute Entry and not a Minute Order that was issued today August 19, 2019 by Sandra

    Brooks. However; the Northern District of Illinois Court’s website under “Judges Not Hearing

    Motions” states that Judge Edmond E. Chang will be out of the office from August 14, 2019 through

    August 19, 2019 as below and as EXHIBIT 4




      The Honorable Edmond E. Chang

    The Honorable Edmond E. Chang will be absent from the Court on the following date(s):

    August 14, 2019 through August 19, 2019
    All matter routine and emergency to be referred to the Courtroom Deputy, Sandra Brooks at (312)
    408-5121.




5. It does not go unnoticed that in Sandra Brooks’/aka SLB Minute Entry 273 (see below) she does not

    mention [R. 266] which was clearly entered into the docket. That being said, a clerk cannot act as

    judge and render judgments on Plaintiff’s motion.


        08/19/2019 273 MINUTE entry before the Honorable Edmond E. Chang: Plaintiff's motion
                       269 inquiring about codes and motion 271 inquiring about minute entries are
                       denied. Final judgment was entered, R. 252, and the motions do not relate to
                       the judgment. Emai led notice (slb, )


6. Further, the entry could NOT have been before Judge Chang as he was absent from the court from

    August 14, 2019-August 19, 2019.




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7.   Sandra Brooks bears the title of Clerk not Judge. Therefore; any alleged orders not issued by a judge

     and rendered and entered by her were and are void from their inception.

8. Even if this was a valid Order and not an Entry. Judge Chang would have to be working on the day

     the “Entry” was entered. In addition Judge Chang has to tell the Clerk what to write and enter into

     the docket.

9. Further, a check of the Judge’s Daily Calendar further supports this fact as it shows that Judge Chang

     showed no scheduled hearing on 8-19-2019 as shown below: (Judge last names ending form ” A-D”)


     Daily Calendar




       Printable Text Version of Daily Court Call

     Please click on a last name to view daily calls for that judge:
     Bucklo | Castillo | Cole | Coleman | Cox | Dow | Durkin | Feinerman | Finnegan | Fuentes | Gettleman |
     Jensen | Kendall | Kennelly | Kim | Lee | Schenkier | Valdez | Weisman |



     Monday, August 19, 2019

            Monday, August 19, 2019
            Tuesday, August 20, 2019
            Wednesday, August 21, 2019
            Thursday, August 22, 2019
            Friday, August 23, 2019
            Monday, August 26, 2019

      Judge Elaine E. Bucklo
     Courtroom 2243 (EEB) 4

      Case #           Name                                               Time           Type
     1:19-cv-04246     Cornell v. Grane Logistics Express, LLC            09:30AM        Motion Hearing
     1:12-cr-00521     USA v. Cancino                                     10:00AM        Status Hearing
     1:18-cr-00880     USA v. Garrett                                     10:00AM        Motion Hearing
     1:18-cr-00880     USA v. Garrett                                     10:00AM        Status Hearing
      Judge Ruben Castillo
     Courtroom 2541 (RC) 2


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 Case #                 Name                                             Time             Type
1:17-cv-04339           Woods v. Amazon.com LLC                          09:30AM          Jury Trial
1:17-cv-07335           Johnson v. Amazon.com LLC                        09:30AM          Jury Trial
 Magistrate Judge Jeffrey Cole
Courtroom 1003 (JC) 4

                For the latest motion rulings please refer to the Call Sheet
                posted on the web page of Judge Cole.
 Case #         Name                                     Time                       Type
1:17-cv-                                                                            Magistrate Status
             Reed v. Doe                                08:30AM
05560                                                                               Hearing...
1:17-cv-
             Reed v. Doe                                08:30AM                     Notice of Motion
05560
1:19-cr-
             USA v. Nammari                             08:30AM                     Bond Hearing
00562
1:19-cr-
             USA v. Stevens                             09:00AM                     Arraignment
00491
 Judge Sharon Johnson Coleman
Courtroom 1241 (SJC) 5

 Case #           Name                                                     Time          Type
1:18-cv-01622     Maisonet v. Molina                                       09:00AM       Status Hearing
1:18-cv-02028     Williamson v. Ortiz                                      09:00AM       Status Hearing
1:18-cv-04363     Martinez v. Johnson, Blumberg & Associat...              09:00AM       Status Hearing
1:19-cv-04036     Pacific Construction Services, Inc. v. S...              09:00AM       Status Hearing
1:16-cr-00776     USA v. Immel                                             10:00AM       Jury Trial
 Magistrate Judge Susan E. Cox
Courtroom 1025 (SEC) 3

 Case #              Name                                  Time                Type
1:19-cr-00646        USA v. Speed                          10:00AM             Detention Hearing
1:19-cr-00641        USA v. Brown                          01:30PM             Detention Hearing
1:19-cr-00645        USA v. Castillo, Jr.                  01:30PM             Detention Hearing
 Judge Robert M. Dow
Courtroom 2303 (RMD) 7

 Case #          Name                                                     Time          Type
1:17-cr-00346    USA v. Soberanis                                         09:00AM       Motion Hearing
1:18-cr-00453    USA v. Franklin                                          09:00AM       Status Hearing
1:18-cr-00453    USA v. Franklin                                          09:00AM       Status Hearing
1:19-cv-01583    Durham v. Majock                                         09:15AM       Status Hearing
1:19-cv-02211    Coleman v. Brown                                         09:15AM       Status Hearing
1:16-cv-00611    Exelon Business Services Company, LLC. v...              09:20AM       Bench Trial
1:14-cr-00667    USA v. Khoury                                            12:30PM       Status Hearing
 Judge Thomas M. Durkin
Courtroom 1441 (TMD) 2

 Case #             Name                                                 Time         Type
1:19-cv-01240       TCF Inventory Finance, Inc. v. Pathway A...          09:00AM      Notice of Motion

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    1:19-cv-01240       TCF Inventory Finance, Inc. v. Pathway A...        09:00AM        Status Hearing


10. Plaintiff’s motions were scheduled to be heard on 8-20-2019. Her case was listed on the Docket as

    late as 8-18-19. However; a check of the Judge’s Daily Calendar shows that the case has been

    removed from the docket. It is also common for the Illinois state courts to fail to enter motions to be

    heard in the docket.

11. Contrary to the entry made on 8-13-2019 by the Clerk with the initials of “mc” as shown below.

    Plaintiff did NOT file her notice for presentation of motion [R. 266 & Exhibits 266-1thru 12] in error.

    Further she did not ask the Court to remove her notice to present [R.266 & Exhibits 266-1thru 12]

    from the docket. Therefore, presentation of [R 267] was not entered in error and the presentation of

    said motion still stands.


        08/12/2019 267 DOCUMENT FILED IN ERROR (Parkinson, Michelle) Modified on
                       8/13/2019 (mc, ).


12. The Court refusal’s to enter [R. 266] into the docket is on information and belief just another attempt

    to Court’s complicity it this ongoing “Fraud Upon the Court.”

13. DOCKET NUMBER 266 & (EXHIBITS) 266-1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12 are being re-filed

    again as the Clerks refuses to enter them into the docket and a motion needs to in the docket in order

    to be heard.




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       Plaintiff further states naught.




                                                       Respectfully submitted,
                                                       /s/Michelle Parkinson



                                             AFFIDAVIT

The undersigned, Michelle Parkinson do hereby declare under penalty of perjury under the laws of the
United States that the foregoing is true and correct to the best of her knowledge and belief.
Dated the 19th day of August 2019


                                                       Respectfully submitted,

                                                       /s/Michelle Parkinson
                                                       Atty. For: Pro se
                                                       Address 5646 W. Eastwood
                                                       City/State: Chicago, IL 60630
                                                       (217) 697-4861

                                     CERTIFICATE OF SERVICE

I HEREBY CERTIFY that true and correct copies of the AFFIDAVIT FOR STATEMENT OF
THE COURT; DOCKET NUMBER 266 & (EXHIBITS) 266-1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12 ARE
NOT LISTED IN THE ELECTROINIC DOCKET AS REQUIRED BY LAW; PER FRCP RULE
79 was served by electronic filing with the Clerk of the Court (ECF) on this 19th day of August, 2019
which will send notice to and all parties of record.


                                                       /s/Michelle Parkinson

                                                       Name      Michelle Parkinson
                                                       Atty. For: Pro se
                                                       Address 5646 W. Eastwood
                                                       City/State: Chicago, IL 60630
                                                       (217) 697-4861




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